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AQ 2441 (Rev. 09/19) Judgment in a Criminal Case
Shect 1

UNITED STATES DISTRICT COURT

District of Columbia

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE

v,

ANNA MORGAN-LLOYD Case Number: 24-cr-00164-RCL-1
USM Number: 31730-509

H. Heather Shaner
Defendant's Attorney

THE DEFENDANT:
Wi pleaded guilty to count(s) _four (4) of the Information filed on 3/1/2021.

OC pleaded nolo contendere to count(s)
which was accepted by the court. -

OC was found guilty on count(s)
after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature ‘of Offense Offense Ended Count
40 U.S.C. § 5104(e)(2) (Parading, Demonstrating, or Picketing in a Capitol Building) 1/6/2021 4
(G)

‘The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.

OThe defendant has been found not guilty on count(s)

 

Wcount(s) 1-3 — Ol is Mare dismissed on the motion of the United States.

__ lt is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and specinl assessments imposed by this judgment arc fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in cconomic circumstances.

6/23/2021

‘Date of Imposition of Judgment -

Capa e- Zoli

Signature of Judge

 

Royce C. Lamberth, U.S. District Court Judge

Name and Tite ofIudge —

visel~u

Date
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AO 2458 (Rev, G9/19) Judgment in a Criminal Case
Sheet 4—Probation

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DEFENDANT: ANNA MORGAN-LLOYD
CASE NUMBER: 21-cr-00164-RCL-1

PROBATION

You are hereby sentenced to probation for a term of:

thirty-six (36) months .

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance.
You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of placement on
probation and at least wo periodic drug tests thereafter, as determined by the court.
@% The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
substance abuse. (check ifapplicable) .
4. 4 You must cooperate in the collection of DNA as directed by the probation officer. check if applicable)
©) You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, ev seq.)
as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6. © You must participate in an approved program for domestic violence. (cheek if applicable)
7. You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if applicable)
8. You must pay the assessinent imposed in accordance with 18 U.S.C. § 3013.
If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.

10. You must notify the court of any material change in your economic circumstances that might affect your ability to pay restitution,
fines, or special assessments.

VN

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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Sheet 4A — Probation

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DEFENDANT: ANNA MORGAN-LLOYD
CASE NUMBER: 21-cr-00164-RCL-1

STANDARD CONDITIONS OF SUPERVISION

As pan of your probation, you must comply with the following standard conditions of supervision. ‘These conditions are imposed because
they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers
to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation oflice in the federal judicial district where you are authorized to reside within 72 hours of the time
you were sentenced, unless the probation officer instructs you to report to a different probation office or within a different time frame.

2. Afier initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed. :

3. You must not knowingly leave the federal judicial district where you are authorized t reside without first getting permission from the
court or the probation officer. . :

You must answer truthfully the questions asked by your probation officer. ‘

5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you tive with), you must notify the probation officer al least 10 days before the change. If notifying
the probation officer in advance is not possible duc to unanticipated circumstances, you must notily the probation officer within 72
hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you al any time at your home or elsewhere, and you must permil the probation officer to
lake any items prohibited by the conditions of your supervision that he or she observes in plain view,

7. Yau must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, untess the probation officer excuses
you from doing so. IF you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible duc to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a fclony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer,

9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.c., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers),

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. ithe probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you lo notify the person about the risk and you must comply with that instruction. ‘The probation officer may contact the
person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy af this
judgment containing these conditions. For further information regarding these conditions, sce Overview of Probation and Supervised
Release Conditions, available at; www.uscourls.gov.

Delendant's Signature Date
‘
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Sheet 4D - - Probation

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DEFENDANT: ANNA MORGAN-LLOYD
CASE NUMBER: 21-cr-00164-RCL-1

SPECIAL CONDITIONS OF SUPERVISION

You shall comply with the following special conditions:

You must complete ONE HUNDRED TWENTY (120) hours of community service during the term of supervision. The
probation officer will supervise the participation in the program by approving the program. You must provide written
verification of completed hours to the probation officer. THE COURT waives imposition of a fine in this case.

Firearm Possession Prohibited - You are prohibited from possessing a firearm, destructive device

or other dangerous weapon during probation.

Reporting Requirements and , Supervision by Probation Officer - You must report to the probation officer as directed by
probation. You must permit the probation officer to visit you at your home. You must answer inquiries by the probation
officer and promptly notify the probation officer promptly of any change in employment. You must notify a probation officer
if you are arrested or questioned by a law enforcement officer.

Restitution - You are ordered to make restitution to ihe Department of Treasury in the amount of $500. The Court waives
any interest or penalties that may accrue on the balance. Restitution payments shall be made to the Clerk of the Court for
the United States District Court, District of Columbia, for disbursement to the following victim:

Victim Name

Department of Treasury
1500 Pennsylvania A venue,
N.W.

Washington, D.C. 20220
Amount of Loss

$500.00

Restitulion Obligation - You must pay the balance of any restitution owed at a rate of no less than $50 each month.

Financial Information Disclosure - You must provide the probation officer access to any requested financial information and
authorize the release of any financial information. The probation office may share financial information with the United
States Attorney's Office.

The financial obligation is immediately payable to the Clerk of the Court for the U.S. District Court, 333 Constitution Ave
NW, Washington, DC 20001. Within 30 days of any change of address, you shall notify the Cierk of the Court of the
change until such time as the financial obligation is paid in full.
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AQ 2458 (Rev. 09/19) Judgment in a Criminal Case
Sheet $ — Criminal Monetary Penalties

 

: Judginent— Page oo tf.
DEFENDANT: ANNA MORGAN-LLOYD
CASE NUMBER: 21-cr-00164-RCL-1
CRIMINAL MONETARY PENALTIES
‘rhe defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Restitution Fine AVAA Assessment* JVTA Assessment**
TOTALS $ 10.00 $ 500.00 $ $ $
OC) The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be

entered after such determination.
C The defendant must make restitution (including community restitulion) to the following payees in the amount listed below.

IF the defendant.nakes a partial payment, cach payee shall receive an approximately proportioned Beene unless specified otherwise in
the priority order or percentage payment column below, However, pursuant to 18°U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid. .

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
Department of Treasury $500.00

1500 Pennsylvania Ave. N.W.
Washington, DC 20220

TOTALS - $800.00 $ 0.00

¥) Restitution amount ordered pursuant to plea agreement $ 500.00 ;

(1) = The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fificenth day after the date of the judgment, pursuant to [8 U.S.C. § 3612(f). All of the payment options on Shect 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

WV) ‘The court determined that the defendant does not have the ability to pay interest and it is ordered that:
7) the interest requirement is waived forthe © fine MZ restitution.:

(the interest requirement for the O) fine [ restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub, L. No. 115-299.

** Justice for Victims of Trafficking Act of 2015, Pub, L. No, 114-22. . .

**¢ Findings for the total amount of lasses are required under Chapters 109A, 110, LOA, and 113A of Title 18 for offenses committed on
or afler September 13, 199d, but before April 23, 1996,
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AQ 2431 (Rev. 09/19) Judgment in a Criminal Case
Sheet 6 — Schedule of Payments

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DEFENDANT: ANNA MORGAN-LLOYD
CASE NUMBER: 21-cr-00164-RCL-1

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A & Lumpsum paymentof$ 10.00 due immediately, balance duc

(] onottaterthan , or
Wi inaccordancewith  C, G O, OF E,or &M F below; or

8B © Payment to begin immediately (may be combined with OC, D,or (1 F below); or

Cc © Payment in equal (e.g. weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g. 30 or 60 days) after the date of this judgment; or
D © Payment in cqual (e.g. weekly, monthly, quarterly) installments of $ over a period of
fe.g., months or years), to commence (e.g., 30 or 60 days) afier release from imprisonment to a

lerm of supervision; or

E (© Payment during the term of supervised release will commence within _ —__ fe.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F Special instructions regarding the payment of criminal monetary penalties:

The financial obligations are immediately payable to the Clerk of the Court for the U.S. District Court, 333
Constitution Ave NW, Washington, DC 20001. Within 30 days of any change of address, you shall notify the Clerk
of the Court of the change until such time as the financtal obligation is paid in full.

Unless the court has expressly ordered utherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment.” All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

‘The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

OO Joint and Severa!

Case Number . .
Defendant and Co-Defendant Names . Joint and Several Corresponding Payee,
fincluding defendant number) Cota! Amount Amount if appropriate

1 The defendant shall pay the cost of prosecution.
(The defendant shall pay the following court cost(s):

CO The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applicd in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs, .
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AO 2431 (Rev. 09719) Judument ina Criminal Case
Sheet 7 — Denial of Federal Benefits

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DEFENDANT: ANNA MORGAN-LLOYD
CASE NUMBER: 21-cr-00164-RCL-1
DENIAL OF FEDERAL BENEFITS
(For Offenses Committed On or After November 18, 1988)

FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.C. § 862(a)
IT IS ORDERED that the defendant shall be:
D ineligible for all federal benefits for a period of

D ineligible for the following federal benefits for a period of

(specify benefit(s))

OR

(1 Maving determined that this is the defendant's third or subsequent conviction for distribution of controlled substances, IT IS
ORDERED that the defendant shall be permanently ineligible for all federal benefits.

FOR DRUG POSSESSORS PURSUANT TO 21 U.S.C. § 862(b)
I'T IS ORDERED that the defendant shall:

OC be ineligible for all federal benefits foi a period of

C1 be ineligible for the following federal benefits for a period of

(specify benefit(s))

[J successfully complete a drug testing and treatment program.
0 perform community service, as specified in the probation and supervised release portion of this judgment.

QO Having determined that this is the defendant’s second or subsequent conviction for possession of a controlled substance, I'l

IS FURTHER ORDERED that the defendant shall complete any drug treatment program and community service specified in this
judgment as a requirement for the reinstalement of eligibility for federal benefits.

_ Pursuant to21 U.S.C, § 862(d), this denial of federal bencfits does not include any retirement, welfare, Socinl Security, health
disa bility Veterans benefit, public housing, or other similar benefit, or any other benefit for which payments or services are required
for cligi lhity. The clerk of court is responsible for sending a copy of this page and the first page of this judgment to;

U.S. Department of Justice, Office of Justice Programs, Washington, DC 20531
